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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

 UNITED STATES OF AMERICA

        V.                                       CASE NO.: 4:21-CR-00019-CDL-MSH-1

 JOHN NIEBEL



    ORDER ON MOTION FOR CONTINUANCE OF PRE-TRIAL CONFERENCE

       Defendant John Niebel has moved the Court to continue the pre-trial conference of

his case, presently scheduled for November 30, 2021, and to continue the trial of the case to

the Court’s September 2022 jury trial term. The Government does not oppose this motion.

Defendant was arraigned on June 9, 2021, and is currently in treatment at the Center for

Hope. Additional time is needed for the defendant to complete treatment and recovery.

The Court finds that it is in the interests of justice to allow the defendant to complete

treatment and allow the parties to explore possible plea negotiations and this interest

outweighs the interest of the Defendant and the public in a speedy trial. Failure to grant a

continuance would deny counsel reasonable time for effective preparation and could result in

a miscarriage of justice.   Accordingly, Defendant’s Motion for Continuance [Doc. 28] is

GRANTED, and it is hereby ordered that this case shall be continued until the Court’s

September 2022 term of Court. The delay occasioned by this continuance shall be deemed

excludable pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. ' 3161.

                    It is SO ORDERED, this 28th day of October 2021.


                                           S/Clay D. Land
                                           HONORABLE CLAY D. LAND
                                           UNITED STATES DISTRICT COURT
